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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

IN RE:                                       §
                                             §      CASE NO. 17-31646
MONTCO OFFSHORE, INC., et. al.               §
                                             §      CHAPTER 11
       Debtors.                              §      (Jointly Administered)
                                             §

MERIT ENERGY COMPANY’S, W&T OFFSHORE, INC.’S, AND MCMORAN OIL &
   GAS, LLC’S OBJECTION TO EMERGENCY MOTION OF DEBTOR MONTCO
 OFFSHORE, INC. FOR AN ORDER (I) APPROVING (A) BIDDING PROCEDURES
      GOVERNING SUBMISSION AND CONSIDERATION OF COMPETING
 TRANSACTIONS, (B) BID PROTECTIONS, (C) FORM AND MANNER OF NOTICE
   OF SALE TRANSACTION AND SALE HEARING, AND (D) ASSUMPTION AND
  ASSIGNMENT PROCEDURES FOR ANY TRANSFERRED CONTRACTS; (II) (A)
    SCHEDULING AND AUTHORIZING DEBTOR TO CONDUCT AN AUCTION
 PURSUANT TO THE BIDDING PROCEDURES, AND (B) AUTHORIZING DEBTOR
TO ENTER INTO THE PURCHASE AGREEMENT TO IMPLEMENT THE BIDDING
PROTECTIONS; (III) AUTHORIZING (A) THE SALE OF THE PURCHASED ASSETS
  FREE AND CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES, AND OTHER
      INTERESTS, AND (B) THE ASSUMPTION AND ASSIGNMENT OF ANY
     TRANSFERRED CONTRACTS; AND (IV) GRANTING RELATED RELIEF

       Merit Energy Company (“Merit”), W&T Offshore, Inc. (“W&T”), and McMoRan Oil &

Gas, LLC (“McMoRan”) file this objection to the Emergency Motion of Debtor Montco

Offshore, Inc. for an Order (I) Approving (A) Bidding Procedures Governing Submission and

Consideration of Competing Transactions, (B) Bid Protections, (C) Form and Manner of Notice

of Sale Transaction and Sale Hearing, And (D) Assumption and Assignment Procedures for

Transferred Contracts; (II) (A) Scheduling And Authorizing Debtor to Conduct An Auction

Pursuant to the Bidding Procedures, And (B) Authorizing Debtor to Enter Into the Purchase

Agreement to Implement the Bidding Protections; (III) Authorizing (A) The Sale of the

Purchased Assets Free and Clear of All Liens, Claims, Encumbrances, and Other Interests, and




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(B) the Assumption and Assignment of Any Transferred Contracts; and (IV) Granting Related

Relief (“Bidding Procedures Motion”) (D.I. 637) as follows:

                                       I.         INTRODUCTION

        1.      Montco Offshore, Inc.’s (“MOI”) Bidding Procedures Motion indicates MOI has

now scrapped its pending plan process in favor of a sale process.      MOI does not disclose key

aspects of the proposed stalking horse transaction. This lack of disclosure extends to an apparent

MOI liquidating plan that has not been filed. As with their prior objections, Merit, W&T, and

McMoRan do not oppose the concept of a sale process per se, but MOI is not proceeding on a

clean slate. Parties in interest should have time to evaluate who the acquiring party is and how a

sale and plan will work together instead of facing an emergency sale process with serious

information gaps following months of work to obtain disclosure for MOI’s prior plan process.

                                            II.    OBJECTIONS

        2.      Merit, W&T, and McMoRan object to the Bidding Procedures Motion due to the

lack of adequate information and disclosure regarding certain aspects of the sale and

contemplated plan process. While Merit, W&T, and McMoRan continue to review MOI’s

filings, these issues include:

             a. MOI has failed to demonstrate an emergency justifying an end-run around the

                plan process through an expedited sale. Rather, MOI should prepare its plan and

                proceed with a sale and plan process on normal notice to creditors.

             b. MOI’s Bidding Procedures Motion omits certain key documentation and

                disclosure of information central to their reworked process.          This lack of

                disclosure includes:




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                     i.   MOI fails to describe the Claims Assignment Agreement (see D.I. 637 ¶

                          28).

                   ii.    MOI fails to explain the identity of the stalking horse purchaser as well as

                          what happened with the 30% interest that equity was to receive under the

                          prior MOI plan. (See D.I. 637 ¶ 22). MOI instead explains that “. . .

                          existing equity will not receive any percentage interest in the buyer”.

                          (D.I. 637 ¶ 32).

                   iii.   MOI does not discuss benefits, if any, to insiders or otherwise explain

                          how equity will be treated or whether the same treatment of various

                          aspects of the prior financial structure will be maintained under this

                          transaction.       MOI should explain the change in structure and the

                          implications for equity and insiders.

            c. MOI explains that it “expects to simultaneously prepare and prosecute a

                 liquidating plan for each of MOI and MOC . . .” (D.I. 637 ¶ 13), but the MOI plan

                 has not been filed.1 Absent a concurrently-running plan process, parties cannot

                 evaluate the implications of the sale, which has the trappings of a sub rosa plan.

                 MOI filed the Bidding Procedures Motion expressly because it believed it faced

                 risk attempting to confirm its prior plan.

                                 IV.     RESERVATION OF RIGHTS

        Merit, W&T, and McMoRan reserve all rights with respect to any amended or

supplemented Bidding Procedures Motion, any plan process in connection with this case, any all

claims they may assert, and all rights in connection with Adversary No. 17-03249.


1
 The Asset Purchase Agreement broadly describes certain MOI plan components but contains no real disclosure or
description of plan terms. (D.I. 645, APA at 36 – 39).

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       WHEREFORE, Merit, W&T and McMoRan pray that the Court sustain this Objection,

and grant such other relief as may be just and proper.



Dated: December 1, 2017                              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing pleading was served by

electronic transmission via the Court’s ECF system to all parties authorized to receive electronic

notice in this case on December 1, 2017.


                                             /s/ Philip G. Eisenberg
                                             Philip G. Eisenberg




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